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 6
 7
 8                         THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF WASHINGTON
 9
10    GLENNDA GENTLE,                                        NO.     2:18-cv-325

11                        Plaintiff,                         COMPLAINT FOR DAMAGES

12          v.

13    WAL-MART ASSOCIATES, INC., a foreign
      profit corporation,
14
                          Defendant.
15
16
           COMES NOW PLAINTIFF, GLENNDA GENTLE, by and through Stephen
17
     R. Matthews, Douglas Dick, and Phillabaum Ledlin Matthews & Sheldon, PLLC, her
18
     attorneys, and alleges as follows:
19
                                             I. PARTIES
20
           1.1    Glennda Gentle is a married person residing in Greenacres, Spokane
21
     County, Washington
22
           1.2    Wal-Mart Associates Inc. (“Wal-Mart”) is a foreign profit corporation
23
     licensed and authorized to conduct business in Washington State and Idaho State,
24
     including Spokane County, Washington and Kootenai County, Idaho. Wal-Mart
25
26
                                                                        PHILLABAUM LEDLIN MATTHEWS
27                                                                            & SHELDON, PLLC
                                                                                 ATTORNEYS AT LAW
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 1   exercised ownership and operational control over Plaintiff concerning her
 2   employment.
 3                           II. JURISDICTION AND VENUE
 4         2.1    This Court has original jurisdiction to hear this complaint and to
 5   adjudicate the claims stated herein under 28 U.S.C. § 1331, this action being brought
 6   under the Federal Fair Labor Standards Act, 29. U.S.C. § 201 et seq. (“FLSA”).
 7   Venue is proper because Defendant operates businesses in Washington State and is
 8   subject to the court’s personal jurisdiction in Washington.
 9                           III. FACTUAL ALLEGATIONS
10         3.1    Plaintiff worked as a personnel coordinator for Defendant at their West
11   Pointe Parkway Supercenter.
12         3.2    The West Pointe Parkway Supercenter is one of ten stores in the
13   Spokane/Coeur d’Alene area operated by Defendant.
14         3.3    While employed, Defendant agreed to pay Plaintiff a regular hourly rate
15   for hours worked.
16         3.4    Plaintiff was not paid on a salary basis because personnel coordinators
17   were paid an hourly rate.
18         3.5    Plaintiff is not exempt from FLSA because she is paid on an hourly basis
19   and should be compensated for appropriate overtime and hours worked.
20         3.6    During her employment, the Plaintiff regularly worked in excess of 40
21   hours in a work week.
22         3.7    If Plaintiff worked less than 40 hours in a week, she would be paid only
23   for the hours she worked that week at her regularly hourly rate.
24         3.8    If Plaintiff worked more than 40 hours in a week, she was told to reduce
25   her actual time worked on her time cards to only reflect a 40 hour work week.
26
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 1         3.9    Plaintiff’s supervisors would have to acknowledge and accept the
 2   reduction on the time cards and authorize the change.
 3         3.10 Defendant failed to pay Plaintiff for all hours worked.
 4         3.11 Defendant failed to pay Plaintiff one and one-half times her regular rate
 5   of pay for all hours worked over 40 hours in a work week.
 6         3.12 Defendant did occasionally pay overtime, however Defendant did not
 7   pay overtime for all hours worked by Plaintiff over 40 hours in a work week.
 8         3.13 Defendant restricted the hours of overtime employees may work and
 9   Plaintiff did not receive the correct pay as required by the FLSA, because Defendant
10   promulgated an unlawful policy that employees are not always eligible for overtime
11   compensation.
12         3.14 These practices violate the provisions of the FLSA, 29 U.S.C. § 201 et
13   seq. As a result of these unlawful practices, Plaintiff suffered a loss of wages.
14         3.15 Defendant willfully did not pay for all hours worked.
15         3.16 Defendant showed reckless disregard for the fact that their failure to pay
16   Plaintiff appropriate overtime compensation was in violation of the law.
17                           IV. FIRST CAUSE OF ACTION
                          FAILURE TO PAY MINIMUM WAGE
18
           4.1    Plaintiff re-alleges and incorporates the above paragraphs.
19
           4.2    Defendant required Plaintiff to adjust her time cards to eliminate hours
20
     actually worked by Plaintiff.
21
           4.3    Plaintiff was not compensated for all hours she worked.
22
           4.4    These practices violate the provisions of the FLSA, 29 U.S.C. § 201 et
23
     seq. As a result of these unlawful practices, Plaintiff suffered a loss of wages.
24
25
26
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 1         4.5    Defendant willfully did not pay for each hour Plaintiff worked.
 2         4.6    Defendant showed reckless disregard for the fact that their failure to pay
 3   Plaintiff appropriate compensation was in violation of the law.
 4                           V. SECOND CAUSE OF ACTION
                             FAILURE TO PAY OVERTIME
 5
           5.1    Plaintiff re-alleges and incorporates the above paragraphs.
 6
           5.2    Defendant required Plaintiff to adjust her time cards to eliminate hours
 7
     actually worked by Plaintiff.
 8
           5.3    Plaintiff was not paid one and one-half times her regular rate of pay for
 9
     each hour worked over 40 hours in a work week
10
           5.4    These practices violate the provisions of the FLSA, 29 U.S.C. § 201 et
11
     seq. As a result of these unlawful practices, Plaintiff suffered a loss of wages.
12
           5.5    Defendant willfully did not pay for each hour worked over 40 hours in
13
     a work week.
14
           5.6    Defendant showed reckless disregard for the fact that their failure to pay
15
     Plaintiff appropriate overtime compensation was in violation of the law.
16
                             VI. THIRD CAUSE OF ACTION
17                              BREACH OF CONTRACT
18         6.1    Plaintiff re-alleges and incorporates the above paragraphs.
19         6.2    Plaintiff and Defendant entered into a contract whereby Plaintiff would
20   receive a rate of pay for all hours worked.
21         6.3    Defendant breached this contract by failing to pay Plaintiff a rate of pay
22   for all hours worked.
23         6.4    Plaintiff sustained damages as a result of this breach of contract.
24         6.5    Defendant willfully did not pay for each hour worked.
25
26
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27                                                                       & SHELDON, PLLC
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 1                                                    VII. PRAYER FOR RELIEF
 2              WHEREFORE, plaintiff prays for relief as follows:
 3              1.          Judgment against Defendant for an amount equal to Plaintiff’s unpaid
 4   back wages at the applicable rate for each hour worked;
 5              2.          Judgment against Defendant for an amount equal to Plaintiff’s unpaid
 6   back wages at the applicable overtime rate for each hour worked over 40;
 7              3.          Judgment against defendant that their violations of the FLSA were
 8   willful;
 9              4.          An equal amount of the wage damages as liquidated damages;
10              5.          To the extent that liquidated damages are not awarded, an award of
11   prejudgment interest;
12              6.          All costs incurred and reasonable attorney’s fees for prosecuting these
13   claims; and
14              7.          For such further relief as the Court deems just and equitable.
15              Dated this 17th day of October, 2018
16
17                                                                 PHILLABAUM, LEDLIN, MATTHEWS
                                                                   & SHELDON, PLLC
18
                                                                           /S/ DOUGLAS DICK
19                                                                 Douglas Dick, WSBA #46519
                                                                   Attorneys for Plaintiff
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